  2:21-ap-07004 Doc#: 1 Filed: 02/03/21 Entered: 02/03/21 16:11:49 Page 1 of 6




                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

In re: KRISTINA INGRAM, Debtor                              CASE NO. 2:20-bk-71265
                                                                 Chapter 7


KRISTINA INGRAM                                                            Plaintiff

VS.                             AP CASE NO.

THE UNITED STATES DEPARTMENT OF EDUCATION,
GREAT LAKES EDUCATIONAL LOAN SERVICER, INC.,
MISSOURI HIGHER EDUCATION LOAN AUTHORITY,
NAVIENT CORPORATION, and
JOHN DOES I, II, III, and IV                                               Defendants



                             COMPLAINT TO DETERMINE
                         DISCHARGEABILITY OF STUDENT LOANS


        COMES NOW the Plaintiff-Debtor, Kristina Ingram, and for her complaint to determine

the dischargeability of student loans owed to Defendants, pursuant to 11 U.S.C. 523(a)(8), “undue

hardship”, states as follows:

                                    Jurisdiction and Venue

        1.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 157 and

1334.

        2.     This action is a core proceeding pursuant to 28 U.S.C. § 157 (b)(2)(I).

        3.     Venue is proper before this Court pursuant to 28 U.S.C. § 1409.




                                                1
  2:21-ap-07004 Doc#: 1 Filed: 02/03/21 Entered: 02/03/21 16:11:49 Page 2 of 6




                                           The Parties

       4.      Plaintiff is an individual residing at 5137 West Creek Road in Ozark, Franklin

County, Arkansas.

       5.      Defendant United States Department of Education is a federal agency

headquartered at 400 Maryland Avenue, SW, Washington, DC 20202 which originates and insures

educational loans.

       6.      Defendant Great Lakes Educational Loan Services, Inc. (“Great Lakes”) acts as a

servicer for the United States Department of Education and is therefore a necessary party to this

proceeding. Great Lakes is a corporation organized and existing under the laws of the State

of Wisconsin, headquartered at 2401 International Lane, Madison, Wisconsin 53704.

       7.      Defendant Missouri Higher Education Loan Authority is a quasi-governmental

entity created by the State of Missouri which owns and services educational loans and which is

headquartered at 633 Spirit Drive, Chesterfield, MO 63005. Other records show the company

name as Higher Education Loan Authority of the State of Missouri (MOHELA) which is registered

as a corporation in Rhode Island and whose registered agent is Ct Corporation, 450 Veterans

Memorial Parkway, Suite 7a, East Providence, RI 02914.

       8.      Defendant Navient provides Federal Family Education Loan Program (“FFELP”)

loans and servicing for FFELP loan portfolios; and servicing and asset recovery services for loans

on behalf of guarantors of FFELP loans, guaranty agencies, higher education institutions, the

United States Department of Education, and other federal clients, as well as states, courts, and

municipalities. Navient also acquires, finances, and services private education loans.




                                                 2
  2:21-ap-07004 Doc#: 1 Filed: 02/03/21 Entered: 02/03/21 16:11:49 Page 3 of 6




       9.       Defendant Navient is a Delaware corporation with principal executive offices at

123 Justison Street, Wilmington, Delaware 19801. The registered agent for Navient is Corporation

Service Company, 251 Little Falls Drive, Wilmington, DE 19808.

       10.      John Does I, II, III, and IV are listed in the event that the Debtor has incorrectly

listed the names of the separate Defendants above and needs to later amend so that the styling

correctly reflects the names of the same. The Debtor does believe that she has the proper registered

agents for the named entities.

                                                      Facts

       11.      The Debtor is disabled, and her primary source of income is from Social Security

Disability benefits in the amount of $1229.00 per month. Exhibits A & B.

       12.      The Debtor does work part-time but due to her disability, she is unable to work full-

time. The Debtor was injured several years ago and suffers from seizures and migraines. Because

she is only able to work when these conditions permit, her income varies somewhat. From her

part-time work, she earns approximately $900 per month giving her a total monthly income of

approximately $2,129.

       13.      At this time, the Debtor’s total student loans are in excess of $76,594 and as of May

31, 2020, according to the Federal Student Aid website, her monthly payment would be $2,168. If

she were required to make the full payment, she would only be left with approximately $61 per

month for living expenses.

      14.       The Debtor’s current living expenses are as follows:

            Utilities:                 $180.00
            Phone/Internet:            $129.00
            Rent:                      $400.00*




                                                  3
  2:21-ap-07004 Doc#: 1 Filed: 02/03/21 Entered: 02/03/21 16:11:49 Page 4 of 6




            Food/Groceries:           $240.00
            Clothing:                 $10.00
            Medical/Dental:           $75.00
            Health Insurance:         $48.50
            Transportation:           $200.00
            Auto Insurance:           $214.96
            Car Payment:              $287.00
            Life Insurance:           $38.27
            Other debt payments:      $480.00
            Storage:                  $50.00

                       Total          $2352. 73
*The debtor’s living expenses have changed somewhat since she filed her bankruptcy petition.

She had been living with a relative and was not paying rent but is now paying $400 per month in

rent. Her utility expenses have also increased for the same reason. These living expenses are

necessary and reasonable, and are expected to remain the same, or increase, in the foreseeable

future.

          15.   After the Debtor’s necessary and reasonable living expenses are paid, the Debtor

has no discretionary income.

          16.   The Debtor is extremely limited in her income for the foreseeable future and will

not likely earn anywhere near the amount required to pay her student loan debt.

          17.   The totality of the Debtor’s circumstance indicates a past and present inability of

the Debtor to meet her student loan obligations, and the Debtor’s student loan should be

discharged. Based upon the “totality of the circumstances” with a particular analysis of the (1) the

Debtor’s past, present, and reasonably reliable future financial resources; (2) calculation of the

Debtor’s reasonable and necessary living expenses; and (3) any other relevant facts and




                                                  4
  2:21-ap-07004 Doc#: 1 Filed: 02/03/21 Entered: 02/03/21 16:11:49 Page 5 of 6




circumstances surrounding the Debtor’s case, the Debtor can show that repayment of her student

loans create an “undue hardship”, and she should be discharged of the liability on her student loans.

       18.     Debtor requests that summons be issued to the following:

       United States Department of Education
       400 Maryland Avenue, SW
       Washington, DC 20202

       United States Attorney
       414 Parker Ave.
       Fort Smith, AR 72901

       US Attorney General
       10th & Constitution Ave.
       Washington, D.C. 20530

       Great Lakes Educational Loan Services, Inc.
       2401 International Lane
       Madison, Wisconsin 53704.

       Missouri Higher Education Loan Authority
       633 Spirit Drive
       Chesterfield, MO 63005

       Higher Education Loan Authority of the State of Missouri (MOHELA)
       c/o Ct Corporation
       450 Veterans Memorial Parkway, Suite 7a
       East Providence, RI 02914.

       Navient
       c/o Corporation Service Company
       251 Little Falls Drive
       Wilmington, DE 19808.


       WHEREFORE, Debtor prays summons be issued as requested, that the Court discharge

her student loan obligations, and for all other relief to which she may be entitled.




                                                  5
2:21-ap-07004 Doc#: 1 Filed: 02/03/21 Entered: 02/03/21 16:11:49 Page 6 of 6




                                         Respectfully submitted,

                                         Mickey Stevens
                                         Attorney
                                         American Disability Action Group, PLLC
                                         2615 N. Prickett Rd., Ste 2
                                         Bryant, AR 72022
                                         501-481-8923
                                         mickeystevens@outlook.com




                                     6
